          Case 2:12-cv-04556-CMR Document 3-13 Filed 08/15/12 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA


Filed By:
 ADRIAN: LUPU
1332 Airport Rd.
Coatesville, PA 19320
(484) 433-7525(phone)
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ADRIAN LUPU, Sui Juris
   Plaintiff
v                                                                  CIVIL ACTION – QUIET TITLE
LOANCITY, LLC, ET AL
  Defendants                                                      CASE NO:2:12-CV-04556-CMR


                                                     NOTICE


You have been sued in court. If you wish to defend against the claims set forth in the following pages, you must

take action within twenty (20) days after this complaint and notice are served, by entering a written appearance

personally or by attorney and filing in writing with the court your defenses or objections to the claims set forth

against you. You are warned that if you fail to do so the case may proceed without you and a judgment may be

entered against you by the court without further notice for any money claimed in the complaint or for any other

claim or relief requested by the plaintiff. You may lose money or property or other rights important to you.



YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT HAVE A LAWYER,

GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW. THIS OFFICE CAN PROVIDE YOU WITH

INFORMATION ABOUT HIRING A LAWYER.



IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO PROVIDE YOU

WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL SERVICES TO ELIGIBLE

PERSONS AT A REDUCED FEE OR NO FEE.,
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                     If you do not know a lawyer contact:
                     LAWYER REFERRAL SERVICE
                        Chester County Bar Association
                       15 West Gay Street, Second Floor
                      West Chester, Pennsylvania 19380
                         Telephone: 610.692.1889 119

                     If you cannot afford a lawyer, contact:
                           LEGAL AID SOCIETY
                       222 N. Walnut Street, Second Floor
                            West Chester, PA 19380
                                 610-436-4510
                               Fax: 610-436-5186

DATE:                                                    ----------------------------------------- (Seal)
                                                          ADRIAN LUPU, Sui Juris Plaintiff
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                                                          Coatesville, PA 19320
                                                          (484) 433-7525
